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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_____________________________________

UNITED STATES OF AMERICA,

                    Plaintiff,

                    v.                                    06-CR-284S

ENRIQUE SEXTO,

                Defendant.
_____________________________________



                     REPORT, RECOMMENDATION AND ORDER

             This case was referred to the undersigned by the Hon. William M. Skretny

in accordance with 28 U.S.C. § 636(b)(1) for all pretrial matters and hear and report

upon dispositive motions.



                              PRELIMINARY STATEMENT

             The defendant Enrique Sexto (“the defendant”) is charged in a

Superseding Indictment with having violated Title 21 U.S.C. § 846 (Count I). (Docket

#128). There are nine other co-defendants similarly charged, some of whom are also

charged with having violated Title 21 U.S.C. §§ 841(A)(1) and 841(b(1)(B) and Title 18

U.S.C. § 2. (Docket # 128).



             The defendant has filed a motion to suppress evidence “acquired as a

result of electronic surveillance and search warrants utilized and executed during this

investigation [of the defendant].” (Docket # 176). The co-defendants, Luis Pabon, Jose
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Lao and Jose Matos Quinones have joined in this motion. The government filed its

response in opposition to the motion. (Docket # 178). Thereafter, an evidentiary

hearing was held by this Court on December 6, 2007 and a transcript of the

proceedings was filed on January 8, 2008.1 Post hearing memoranda were filed on

behalf of the defendants (Docket #192) and the Government (Docket # 191) on

February 15, 2008.



                                         FACTS2

              Sometime in March or April 2005, the FBI became aware of drug

trafficking activity being carried out by the defendants Enrique Sexto and Jose Lao in

the Western New York area and northern Pennsylvania. (T. 6 - 7). An investigation

was initiated and “physical surveillances, consensually recorded telephone calls,

attempted consensual recorded telephone calls and controlled narcotics purchases”

were conducted by the FBI as part of this investigation. (T. 7). It was determined “that

there were numerous individuals that were actually engaged in the conspiracy to

distribute heroin” and the aforesaid investigative techniques were used to determine

“the full scope of the conspiracy” and to “collect information on the individuals

[involved], who they associated with, vehicles that are being driven, items of movement,

that sort of thing.” (T. 7 - 8). However, the agents conducting the investigation were


       1
              References to this transcript will be designated “T” followed by the
              appropriate page numbers.
       2
              The facts set out herein are taken from the transcript of the testimony
              given at the evidentiary hearing on December 6, 2007 and from the
              exhibits received at said hearing.
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not able “to obtain evidence as to conversations that were being made between the

people [they] were watching.” Also, it became apparent to the agents that the

individuals being investigated ”knew they were being watched or suspected they were

being watched by law enforcement” based on information received from confidential

sources. (T. 8-9, 59). The suspects in this investigation “had numerous people out and

about, expanded area, (sic) two to three blocks out just looking for people out of the

ordinary that might be law enforcement.” (T. 10). An e-mail exchange on the issue of

using pole cameras took place in September 2005 between S.A. Yervelli and a

representative in the office of Chief Division Counsel of the FBI. “The substance of the

communication would have been to determine what legal issues would have needed to

be addressed” in order to obtain authorization from the Chief Division Counsel’s office

for the installation of pole cameras. (T.23-25, 64-65). A formal request seeking approval

for “a technical site survey for pole cameras and a subsequent installation of pole

cameras for the purpose of capturing surveillance intelligence on [the] subjects of [the

investigation] as well as license plate information” was submitted and approval for such

installation was given on or about October 4, 2005. (Government Exhibit 4) (T.26).

Nevertheless, the investigating agents concluded “that the only way for [them] to try to

identify additional individuals and expand the scope of the investigation to include those

individuals [they] didn’t currently have identified was to apply for a federal court

authorized wire communications interception under Title III” since this “would give

[them] the ability to listen to the conversations that the subjects were having regarding

their activities and other associates that [they] didn’t have identified.” (T. 10-11). Also,

by having access to such conversations, the agents would “know when [the suspects]

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have observed [them]” and would enable them “to know sometimes what [the suspects]

are thinking; where they’re going, what they’re going to be doing; when they’re going to

be doing it.” (T. 11).



               S.A. John A. Yervelli, Jr. executed a ninety-five (95) page affidavit which

he swore to on October 25, 2005 before the Hon. William M. Skretny in support of the

Government’s application for an order authorizing the interception of wire

communications. (Government Exhibit 1). This affidavit of S.A. Yervelli describes in

great detail the history of the investigation to date and information obtained based on

prior state wiretap orders, use of confidential informants, physical surveillance, pen

registers and review of various records. However, there is no mention made in the

affidavit as to the use of pole cameras or why such use was not feasible or whether any

sort of evaluation had been made concerning the use of pole cameras notwithstanding

that S.A. Yervelli “thought about using pole cameras as an investigative technique

sometime in September 2005" and had received authorization for the installation of

such cameras prior to submitting his affidavit to Judge Skretny. (T. 22, 61, 76-77,81,85,

92) (Government Exhibit 4). In explaining why no mention was made of a contemplated

use of pole cameras in his affidavit, S.A. Yervelli testified that he believed that the use

of pole cameras “was just a continuation of physical surveillance” and that they would

not have obtained any additional evidence. (T.23,33, 77). He considered the pole

camera surveillance to be “the same thing” as physical surveillance except that the

agents would not have to be physically present and run the risk of being observed by

those being investigated. Since he considered the pole camera usage to be “an

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enhancement of physical surveillance” that “was going to support [their physical]

surveillances”, which he did describe in his affidavit sworn to October 25, 2005 he did

not think that it was necessary to specifically make mention of the possible use of pole

cameras. (T.33, 73,79-80, 81-82, 94) (Government Exhibit 1 pp. 82-85).



              On October 25, 2005 an “Order Authorizing The Interception Of Wire

Communications” was granted by the Honorable William M. Skretny authorizing the

interception of wire communications relating to the investigation of the defendants

herein. (Government Exhibit 1).Sometime after the granting of this Order, site surveys

were conducted for the purpose of installing pole cameras and technical equipment was

obtained. (T.28). However, no attempt was made to file a “supplemental affidavit” with

Judge Skretny as to “necessity” and the use or evaluation on the use of pole cameras.

(T.86).



              Upon application by government counsel, this Court issued an order on

November 1, 2005 and on November 8, 2005 authorizing the installation of telephone

lines pursuant to 28 U.S.C. § 1651 for the purpose of servicing pole cameras so as to

provide for the collection of information relevant to the ongoing investigation of the

defendants herein. (Government Exhibits 5 and 6 respectively) (T.29-31).



              On November 4, 2005 a “First Ten Day Report” was submitted to Judge

Skretny wherein it was reported that:

              FBI personnel are in the process of installing “Pole

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              Cameras” in the area of 258 Hudson Street and the garage
              located at 1073 Niagara Street. These cameras are
              necessary to assist with corroboration of information from
              the wire interceptions and because the subjects of the
              Investigation are very surveillance conscience.

(Government Exhibit 7) (T.34-35, 37, 87, 91-92).



              Thereafter, on November 23, 2005 an application for an order authorizing

the continued interception of wire communications in the investigation of the defendants

was submitted by the Government to Judge Skretny. (Government Exhibit 2). In the

affidavit of S.A. Yervelli sworn to November 23, 2005 in support of said application,

disclosure is made that one of the “traditional investigative techniques utilized thus far”

is the “use of surveillance cameras in public areas near selected locations associated

with subjects of this investigation.” (Government Exhibit 2, pp. 82, 89) (T. 51-52). An

“Order Authorizing The Continued Interception of Wire Communications” was granted

by Judge Skretny on November 23, 2005. (Government Exhibit 2) (T. 50).



              On December 8, 2005, the Government made an application for a “spinoff

eavesdrop warrant,” i.e., an authorization to intercept wire communications occurring

over another telephone not covered by the prior intercept orders. (Government Exhibit

3) (T. 52). In support of this application, S.A. Yervelli, in his affidavit sworn to

December 8, 2005, advised that, among other things, pole cameras were used as

“surveillance cameras in public areas near selected locations associated with subjects

of this investigation” and that those cameras would continue to be used to “assist

surveillance units with conducting surveillance in the future.” (Government Exhibit 3,

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pp. 90, 96-97) (T. 55).



              Disclosure of the use of pole cameras was done in the affidavits of S.A.

Yervelli sworn to November 23 and December 8, 2005, “because they were now being

used and they were there.” (T. 56). An “Order Authorizing The Interception of Wire

Communications” was granted by the Honorable William M. Skretny on December 8,

2005. (Government Exhibit 3).



                              DISCUSSION AND ANALYSIS

              The defendants claim that “the government made intentional (sic) false or

misleading statements in order to persuade the Court that a wiretap was necessary.”

(Docket # 176, ¶ 24.) In support of this claim, they reference the affidavit of S.A.

Yervelli in support of the wiretap application wherein it is stated: (1)” that normal

investigative procedures have either been tried without success, or reasonably appear

unlikely to succeed if continued;” (2)” [Yervelli] believes that the interception for wire

communications as applied for herewith is the only available investigative technique

which has a reasonable likelihood of securing the evidence needed to ascertain the

identities of, and . . .;” and (3) “all normal avenues of investigation have been carefully

evaluated for use or have been attempted with only limited results.” (Docket # 176,

¶ 24). The defendants argue that the aforesaid quoted references “by Yervelli

constitute affirmative misrepresentations intended to make his affidavit misleading”

since the use of “pole cameras [was] not carefully evaluated prior to the government

application for a wiretap order” and that “interception of wire communications was not

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the only available investigative technique” since “the pole cameras were an

investigative procedure that reasonably appeared likely to succeed” especially since

“the pole cameras [that were subsequently installed] ran for a period almost co-

extensive with the wiretap orders.” (Docket # 176, ¶ 25). The defendants further assert

that “these affirmative misrepresentations or omissions were material” and that if they

had been disclosed in the application for a wiretap order, as required, “it is doubtful the

Court would have issued the 10/25/05 eavesdrop warrant had it been made aware that

other normal investigative techniques, such as pole cameras, would have been

effective.” (Docket # 176, ¶ 26). As a result, the defendants argue that the Court

“should delete the false or misleading statements and insert the omitted truths” and

after doing so, “under these circumstances, the Court must grant suppression.” (Docket

# 176, ¶ 27).



                In response, the Government argues “that the use of pole cameras after

the warrant was signed is of no significance as it relates to the truth and veracity of

Special Agent Yervelli’s affidavit” and that “the affidavit reveals that Judge Skretny was

adequately informed that normal investigative techniques have been tried and failed”

and “the fact that other techniques remained available for use has no affect on the

veracity of the affidavit or the requirement for necessity.” (Docket # 178, p. 4).



                Since the holding in United States v. Torres, 901 F.2d 205 (2d Cir.), cert.

denied 498 U.S. 906 (1990), addresses the issue raised by the defendants on whether

18 U.S.C. § 2518(1)© was complied with, it is worthwhile to sacrifice brevity and set

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forth that Court’s ruling in detail.



               Section 2518(1)© requires that an application for such an
               interception shall include “a full and complete statement as
               to whether or not other investigative procedures have been
               tried and failed or why they reasonably appear to be unlikely
               to succeed if tried or to be too dangerous. . . .” Similarly,
               section 2518(3)© requires the judge to whom an application
               for a wiretap is made to determine, as a condition of
               authorizing the tap, that “normal investigative procedures
               have been tried and have failed or reasonably appear to be
               unlikely to succeed if tried or to be too dangerous. . . .”

               The application for the wiretap in this case was based upon
               a thirty-six page affidavit by DEA agent Timothy J. Sullivan
               dated May 27, 1987. Flores contends that when the
               application for a wiretap was made, traditional law
               enforcement methods had already achieved “extraordinary
               success . . . in penetrating the deepest reaches of the
               Torres Organization,” and that the “affidavit utterly failed to
               establish, even on a superficial level, that less intrusive
               techniques had not been successful and could not be
               successful.” In advancing this position, Flores points out
               that our decision in United States v. Lilla, 699 F.2d 99 (2d
               Cir. 1983), precludes the authorization of wiretaps based
               upon “generalized and conclusory statements that other
               investigative procedures would prove unsuccessful,” id. at
               104. Flores also argues that it does not suffice to show that
               a case belongs to some general class of cases which
               require wiretap investigation, citing United States v.
               Kalustian, 529 F.2d 585, 589 (9th Cir. 1975) (gambling case).

               We are unpersuaded, and conclude that the application in
               this case provided a sufficient basis for authorizing the
               Flores wiretap. Section 2518 “is simply designed to assure
               that wiretapping is not resorted to in situations where
               traditional investigative techniques would suffice to expose
               the crime.” United States v. Kahn, 415 U.S. 143, 153 n. 12,
               94 S.Ct. 977, 983 n. 12, 39 L.Ed.2d 225 (1974). As we have
               stated:

                      “[T]he purpose of the statutory requirements is
                      not to preclude resort to electronic surveillance

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              until after all other possible means of
              investigation have been exhausted by
              investigative agents; rather, they only require
              that the agents inform the authorizing judicial
              officer of the nature and progress of the
              investigation and of the difficulties inherent in
              the use of normal law enforcement methods.”

       United States v. Vazquez, 605 F.2d 1269, 1282 (2d Cir.
       1979) (quoting United States v. Hinton, 543 F.2d 1002, 1011
       (2d Cir.), cert. denied, 429 U.S. 980, 97 S.Ct. 493, 50
       L.Ed.2d 589 (1976)), cert. denied, 444 U.S. 981, 100 S.Ct.
       484, 62 L.Ed.2d 408 (1979), 1019, 100 S.Ct. 674, 62
       L.Ed.2d 649 (1980); see also United States v. Fury, 554
       F.2d 522, 530 (2d Cir), cert. denied, 433 U.S. 910, 97 S.Ct.
       2978, 53 L.Ed.2d 1095 (1977).

       The role of an appeals court in reviewing the issuance of a
       wiretap order, furthermore, “is not to make a de novo
       determination of sufficiency as if it were a district judge, but
       to decide if the facts set forth in the application were
       minimally adequate to support the determination that was
       made.” United States v. Scibelli, 549 F.2d 222, 226 (1st Cir.)
       (collecting cases), cert. denied, 431 U.S. 960, 97 S.Ct. 2687,
       53 L.Ed.2d 278 (1977). And, as the Scibelli court went on to
       say:

              [I]n determining the sufficiency of the
              application a reviewing court must test it in a
              practical and common sense manner. The
              legislative history makes clear that section
              2518(1)© is not designed to force the
              Government to have exhausted all “other
              investigative procedures”.

              “The judgment [of the district judge] would
              involve a consideration of all the facts and
              circumstances. Normal investigative
              procedure would include, for example,
              standard visual or aural surveillance
              techniques by law enforcement officers,
              general questioning or interrogation under an
              immunity grant, use of regular search warrants,
              and the infiltration of conspiratorial groups by
              undercover agents or informants. Merely

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                     because a normal investigative technique is
                     theoretically possible, it does not follow that it
                     is likely. What the provision envisions is that
                     the showing be tested in a practical and
                     commonsense fashion.

                     S.Rep. No. 1097, 90th Cong., 2d Sess., 1968
                     U.S.Code Cong. & Admin.News, p. 2190
                     (citations omitted).

       Scibelli, 549 F.2d at 226.

Id. at 231-232) (brackets included); See also United States v. Diaz, 176 F.3d 52, 111

(2d Cir.), cert. denied by Rivera v. United States, 528 U.S. 875 (1999).



              The necessity requirement is subject to the analysis set forth in Franks v.

Delaware, 438 U.S. 154 (1978) for challenging the veracity of S.A. Yervelli’s affidavit of

October 25, 2005 in support of the application for the wire intercept order of October 25,

2005. United States v. Moran, 349 F.Supp.2d 425, 461 (N.D.N.Y 2005) citing United

States v. Ippolito, 774 F.2d 1482, 1485 (9th Cir. 1985). “As with the inclusion of false

information, ‘[o]missions from an affidavit that are claimed to be material are governed

by the same rules.’” United States v. Ferguson, 758 F.2d 843, 848 (2d Cir.), cert.

denied, 747 U.S. 841 (1985); United States v. Canfield, 212 F.3d 713, 718 (2d Cir.

2000). Therefore, in order to determine whether an omission in the wire interception

application was material to the finding of necessity, the hypothetical effect on the

original determination must be considered.



              To determine whether the alleged “omission” was “material” on the issue

of “necessity” for the intercept order of October 25, 2005 (Government Exhibit 1), it

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must be determined if Judge Skretny would have denied the wiretap application had the

omitted information relating to the use of pole cameras been included in S.A. Yervelli’s

affidavit of October 25, 2005. If the inclusion of such omitted information would not

have caused him to deny such application, the omissions are not material. In making

this analysis, the affidavit with the inclusion of the omitted information is not to be read

in a hyper technical way, but rather, must be reviewed in a common sense manner.

United States v. Ventresca, 380 U.S. 102, 109 (1965); United States v. Canfield, supra

at 719.



              The eavesdropping application and supporting affidavit of S.A. Yervelli of

October 25, 2005 did contain a detailed factual explanation of the traditional

investigative techniques that were used, including “the use of confidential sources,

controlled evidence purchases of illegal drugs, the attempted introduction of an

undercover officer, search warrants, pen registers, review of telephone tolls records,

interviews, and physical surveillance.” (Emphasis added) (Government Exhibit 1, p.

77). A detailed description was also given of those investigative techniques

“considered, but not deemed likely to succeed” and the reasons for such belief.

(Government Exhibit 1, pp. 77-92).



              There is no requirement that all traditional law enforcement investigative

techniques be exhausted prior to applying for a wire interception order. United States v.

Diaz, 176 F.3d 52, 111 (2d Cir.) cert. denied by Rivera v. United States, 528 U.S. 875

(1999). Nor is there any requirement “that any particular investigative procedures

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[must] be exhausted before a wiretap may be authorized.” United States v. Miller, 116

F.3d 641, 663 (2d Cir. 1997), cert. denied, 524 U.S. 905 (1998); United States v.

Young, 882 F.2d 1234, 1237 (2d Cr. 1987).



              Common sense dictates that pole cameras would merely produce images

of what appeared in their fixed sight line and within a limited scope of focus. In other

words, the use of pole cameras constitutes nothing more than another form of physical

surveillance. They would not provide the evidence that the agents were seeking to

acquire, namely, “evidence against such individuals for the stated offenses to the point

of establishing a prosecutable case against those individuals and others unknown, with

proof beyond a reasonable doubt” as well as establishing “the identification of

individuals not presently known who have been and will continue to participate in the

aforementioned violations“ as well as allowing ”law enforcement personnel to identify

the precise nature, scope, extent and methods of the” conspiratorial drug operation

being investigated. (Government Exhibit 1, pp. 3-4, 76, 82-85, 85) (T. 10-11).



              This Court finds the explanation given by S.A. Yervelli as to why he did

not exclude the contemplated use of pole cameras in his affidavit of October 25, 2005

to be credible and reasonable, to wit, that he considered the use of pole cameras to be

merely “a continuation of physical surveillance” or to be “the same thing” as physical

surveillance or “an enhancement of physical surveillance.” (T. 33, 73, 79-80, 81-82,

94).



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              It is the opinion of this Court that the inclusion of the use of pole cameras

as an investigative tool considered by the agents in the affidavit of S.A. Yervelli sworn

to October 25, 2005 amounts to nothing more that a cumulative iteration of what had

already been disclosed, to wit, “physical surveillance.” When reading the affidavit of

S.A. Yervelli sworn to October 25, 2005 with the included omission, common sense

application causes me to conclude that nothing new or of substance is added.

Therefore, I find that such omission was not material for purposes of allowing Judge

Skretny to make a determination as to the “necessity” requirement in granting the

intercept order of October 25, 2005. See United States v. Canfield, supra; United

States v. Moran, supra.



              I further find that S.A. Yervelli, based on his testimony given at the hearing

of December 6, 2007, did not seek or intend to deceive Judge Skretny nor did he or any

other agent act in a reckless manner in presenting the application for the intercept order

of October 25, 2005 for purposes of inducing the judge to authorize the wire

interception in question. The defendants have not presented a scintilla of evidence to

establish that such omission as claimed by them, was intentional or reckless so as to

mislead the judge for purposes of inducing him to authorize the wire interception in

question. The defendants have failed to meet their burden and therefore, their motion

to suppress should be denied. Franks v. Delaware, supra; United States v. Canfield,

supra; United States v. Salameh, 152 F.3d 88, 113 (2d Cir. 1998).



              It is also pointed out that the good faith actions of S.A. Yervelli and the

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investigating agents is further corroborated by the disclosure made in the “First Ten Day

Report” to Judge Skretny wherein the judge was advised that “FBI personnel [were] in

the process of installing ‘Pole Cameras’ in specified locations.” (Government Exhibit 7)

(T. 34-35, 37, 87, 91-92). If Judge Skretny had considered this disclosure to be new

information that was “material” to his determination of whether the October 25, 2005

intercept order should have been granted, he could have immediately ordered the

discontinuance of the wire interception pursuant to 18 U.S.C. § 2518(b)(6). Instead, the

wire interceptions were allowed to continue and to be renewed by the orders of

November 23, 2005 (Government Exhibit 2) and December 8, 2005 (Government

Exhibit 3).



              Since the October 25, 2005 application with the October 25, 2005 affidavit

of S.A. Yervelli met the statutory “necessity” requirement, defendants’ argument that the

subsequent wire interception orders of November 23, 2005 and December 8, 2005 are

invalidly based upon a non-complaint application of October 25, 2005 necessarily fails.



                                    CONCLUSION

              Based on the foregoing, it is RECOMMENDED that defendants’ motion

(Docket #176), to suppress be DENIED.



              Therefore, it is hereby ORDERED pursuant to 28 U.S.C. § 636(b)(1) that:



              This Report, Recommendation and Order be filed with the Clerk of the

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 Court.



               ANY OBJECTIONS to this Report, Recommendation and Order must be

 filed with the Clerk of this Court within ten (10) days after receipt of a copy of this

 Report, Recommendation and Order in accordance with the above statute, Fed. R.

 Crim. P. 58(g)(2) and Local Rule 58.2.



               The district judge will ordinarily refuse to consider de novo, arguments,

 case law and/or evidentiary material which could have been, but were not presented to

 the magistrate judge in the first instance. See, e.g., Patterson-Leitch Co., Inc. v.

 Massachusetts Municipal Wholesale Electric Co., 840 F.2d 985 (1st Cir. 1988). Failure

 to file objections within the specified time or to request an extension of such time

 waives the right to appeal the District Judge's Order. Thomas v. Arn, 474 U.S. 140

 (1985); Wesolek, et al. v. Canadair Ltd., et al., 838 F.2d 55 (2d Cir. 1988).



              The parties are reminded that, pursuant to Rule 58.2 of the Local Rules for

the Western District of New York, "written objections shall specifically identify the

portions of the proposed findings and recommendations to which objection is made and

the basis for such objection and shall be supported by legal authority." Failure to

comply with the provisions of Rule 58.2, or with the similar provisions of Rule 58.2

(concerning objections to a Magistrate Judge's Report, Recommendation and


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Order), may result in the District Judge's refusal to consider the objection.



                                       /S/ H. Kenneth Schroeder, Jr.
                                       __________________________
                                       H. KENNETH SCHROEDER, JR.
                                       United States Magistrate Judge


 DATED:       Buffalo, New York
              April 28, 2008




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